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for interpretation services purportedly provided to Medicaid recipients during the mental

health appointments. Neither the mental health services nor the ancillary interpretation

services were rendered. For nearly 16 months, however, the Defendants defrauded the

Medicaid program by submitting claims for reimbursement and receiving payment for

services not rendered to Medicaid beneficiaries.

                                GENERAL ALLEGATIONS

          At times relevant to this Indictment:

                              Relevant Entities and Individuals

      2.         Live Better LLC (“Live Better”) was a company that advertised that it

provided various services to patients at their homes. The advertised services included:

Adult Rehabilitative Mental Health Services (“ARMHS”), initial life support training,

respite care, and supported living services. Live Better had office locations in Roseville

and Minneapolis, Minnesota.

      3.         Company A was a Minnesota corporation providing various behavioral

health services, including individual and group therapy, psychological testing, and

psychiatry services in Minnesota.

      4.




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      5.       Defendant ELIFAA HENRY KINYAIYA was a mental health practitioner

employed by            and Live Better. KINYAIYA prepared and signed client progress

notes for mental health services that he did not provide, and submitted and caused to be

submitted to the Minnesota Medicaid program claims for mental health services that he did

not provide.

          6.   Defendant VARBAR B. KANNEH was a mental health practitioner

employed by            and Live Better. KANNEH prepared and signed client progress

notes for mental health services that he did not provide, and submitted and caused to be

submitted to the Minnesota Medicaid program claims for mental health services that he did

not provide.

          7.   Defendant ESKENDER M. YOUSUF was a mental health practitioner

employed by             and Live Better. YOUSUF prepared and signed client progress

notes for mental health services that he did not provide, and submitted and caused to be

submitted to the Minnesota Medicaid program claims for mental health services that he did

not provide.

          8.   Defendant ZELDA LIBERTY RUSSELL was a mental health practitioner

employed by            and Live Better. RUSSELL prepared and signed client progress

notes for mental health services that she did not provide, and submitted and caused to be

submitted to the Minnesota Medicaid program claims for mental health services that she

did not provide.

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       9.




       10.     Defendant HODAN ABDI HASHI was an interpreter purportedly providing

interpreter services to Live Better clients through her employer, Arch Language Network,

which then billed those services to the Minnesota Medicaid program. HASHI prepared

and signed interpreter service verification forms for interpretation services that she did not

provide, and submitted and caused to be submitted to the Minnesota Medicaid program

claims for mental health services that she did not provide.

       11.     Defendant OMAR ALI OSMAN was an interpreter purportedly providing

interpreter services to Live Better clients through his employer, Arch Language Network,

which then billed those services to the Minnesota Medicaid program. OSMAN prepared

and signed interpreter service verification forms for interpretation services that he did not

provide, and submitted and caused to be submitted to the Minnesota Medicaid program

claims for mental health services that he did not provide.

       12.     Defendant UBAH HASSAN HAGI was an interpreter purportedly

providing interpreter services to Live Better clients through her employer, Arch language

Network, which then billed those services to the Minnesota Medicaid program. HAGI

prepared and signed interpreter service verification forms for interpretation services that

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she did not provide, and submitted and caused to be submitted to the Minnesota Medicaid

program claims for mental health services that she did not provide.

                           The Minnesota Medicaid Program

       13.     The Medicaid program (“Medicaid”) was a program jointly funded by the

federal government and individual states to assist low-income persons and other qualified

persons, commonly referred to as “Medicaid beneficiaries,” in paying for the costs of health

care. In the State of Minnesota, the Medicaid program was administered by the Minnesota

Department of Human Services (“DHS”).

       14.     DHS used two basic methods to provide services.          The method DHS

employed to provide medical services through Medicaid in this case was through the

Prepaid Medical Assistance Program (“PMAP”), through which health care organizations

contracted with DHS to provide health care services to Medicaid recipients on a managed

care basis. The health care organizations then contracted with health care providers to

provide medical care to Medicaid patients. Under the PMAP program, the health care

providers submitted claims to the health care organization, rather than directly to DHS, for

the services provided to Medicaid recipients.

       15.     The Adult Rehabilitative Mental Health Services (“ARMHS”) program is

one category of mental health services available to Medicaid recipients. As defined by

Minnesota State Statute 256B.0623, Subd. 2., “adult rehabilitative mental health services”

means “mental health services which are rehabilitative and enable the recipient to develop

and enhance psychiatric stability, social competencies, personal and emotional adjustment,

independent living, parenting skills, and community skills, when these abilities are

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impaired by the symptoms of mental illness.” ARMHS services can be rendered at various

locations in the community, but are typically provided in the recipient’s home. DHS

regulations govern what can and cannot be billed to Medicaid, and for certain services

Mental Health Practitioners are not permitted to bill if contact with a Medicaid recipient

is conducted by telephone.

       16.     UCare Minnesota (“UCare”) was a health care organization serving patients

in Minnesota and western Wisconsin. UCare contracted with DHS to provide health care

coverage to Medicaid beneficiaries. UCare provided coverage for medical services,

including coverage for mental health services, as well as certain ancillary services attendant

to medical and mental health appointments, including transportation to and from those

appointment and any necessary interpretation services provided at those appointments.

UCare is a PMAP and the mental health services, as well as certain ancillary services

described herein, are covered under the PMAP program.

       17.     Health care providers that provide services to Medicaid recipients can apply

for and obtain a “provider number.” A health care provider issued a provider number can

submit claims to Medicaid to obtain reimbursement for products, services, and items

provided to beneficiaries. Medicaid provides reimbursement only for health care services

that were medically necessary, actually provided, and provided as represented in the

reimbursement claim. Claims for reimbursement are required to set forth, among other

things, the recipient’s name, the recipient’s recipient identification number, the date the

product, service, or item was provided, the cost of reimbursement, and the name and

provider number of the health care provider who provided the product, service, or item.

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       18.      By becoming a participating provider in Medicaid, providers agree to abide

by the laws, rules, regulations, policies, and procedures that govern reimbursement by

Medicaid. When a provider submits claims to Medicaid, the provider certifies that the

contents of the claim are true, correct, and complete and that the claim was prepared and

submitted in compliance with the applicable laws and regulations governing the submission

of claims.

       19.      Participating providers are required to follow DHS billing rules designed to

ensure the submission of accurate and honest reimbursement of claims for services actually

provided. The requirements regarding claims submission to DHS are set forth in the

Minnesota Health Care Programs (“MHCP”) Provider Manual.

       20.      Such requirements include, but are not limited to, the following:

             a. Billing for Services Actually Provided. Providers who contract with DHS

                agree to bill for services actually provided.        Claims are submitted

                electronically to DHS or the PMAP. The provider submits a claim under a

                recipient’s individual identifying number. The claim provides a procedure

                code, indicating the service, along with the provider’s number for direct

                payment to the provider.

             b. Billing Only After Services Have Been Provided. Claims are submitted to

                DHS after covered services have been rendered. Providers are not permitted

                to make reimbursement claims for services purportedly to be provided in the

                future



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       21.     Payment to providers is typically done by electronic funds transfer (EFT) by

the respective PMAP.

                                 The Scheme to Defraud

       22.     In or about August 2016,           entered into a contract on behalf of Live

Better with Company A. Under the terms of the contract, Live Better’s mental health

practitioners would provide ARMHS services to Live Better clients, and would supply an

interpreter for Live Better clients needing interpretation services. Company A would

provide supervision of Live Better’s mental health practitioners in accordance with the

practitioner supervision requirements under the ARMHS program, and would submit

claims for reimbursement for ARMHS services rendered by Live Better’s mental health

practitioners and interpreters. The contract specifically required Live Better to submit

accurate documentation to Company A that reflected billable client time as defined by the

Minnesota ARMHS program.

       23.     Live Better did not have its own DHS “provider number” and therefore could

not independently submit claims to Medicaid for reimbursement for any mental health

services and ancillary interpreter services rendered to Medicaid beneficiaries.        For

example, Live Better employees could not submit claims to Medicaid for ARMHS

sessions.

       24.     By entering into the contract with Company A,                 and the other

Defendants could use Company A’s provider number to submit or cause to be submitted

claims for reimbursement for ARMHS sessions and the related interpreter services for

those sessions.

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       25.     In       operation of Live Better,              employed Mental Health

Practitioners (“MHPs”), including KINYAIYA, KANNEH, YOUSUF, and RUSSELL,

who were purportedly hired to provide mental health services to individual Live Better

clients, including those clients who were Medicaid beneficiaries.       The MHPs were

responsible for providing mental health services to Live Better clients, and for preparing

and signing paper progress notes and paper Individual Treatment Plans documenting the

provision of mental health services.        The MHCP Provider Manual sets forth the

requirements for supervision of MHPs, and states: “MHPs are not eligible to enroll with

MHCP; they must be under clinical supervision of a mental health professional...” At times

relevant to this Indictment, Company A provided the supervision of the Live Better MHPs

for purposes of their purported ARMHS sessions. According to the requirements in the

MHCP Provider Manual, this supervision was supposed to include: overseeing the quality

and outcome of the MHP’s work with the recipients; reviewing, approving, and signing the

diagnostic assessments, individual treatment plans, and treatment plan reviews of

recipients; and reviewing and approving the progress notes of recipients treated by the

MHPs according to the MHP’s supervision plan.

       26.     In order to maximize the reimbursements received from the Medicaid

program,               and the MHPs also conspired with various interpreters, including

          , HASHI, OSMAN, HAGI, and others known and unknown to the Grand Jury,

who purportedly provided interpretation services during the MHPs’ ARMHS sessions with

Live Better clients.



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                                   ESKENDER M. YOUSUF,
                                  ZELDA LIBERTY RUSSELL,
                                                        ,
                                    HODAN ABDI HASHI,
                                     OMAR ALI OSMAN,
                                            and
                                    UBAH HASSAN HAGI,

did knowingly and willfully conspire, combine, and agree with each other and with other

persons known and unknown to the Grand Jury, to commit the crime of wire fraud, in

violation of Title 18, United States Code, Section 1343.

        All in violation of Title 18, United States Code, Section 1349.

                                           COUNTS 2-19
                                            (Wire Fraud)

          32.      The allegations set forth in paragraphs 1 through 31 of this Indictment are re-

alleged as if fully set forth herein.

          33.      On or about the following dates, in the State and District of Minnesota and

elsewhere, the Defendants, as named below in each count, each aiding and abetting and

being aided and abetted by others known and unknown to the Grand Jury, having devised

and intending to devise the scheme and artifice described above, transmitted and caused to

be transmitted by means of wire communication in interstate and foreign commerce the

following writings, signs, signals, pictures, and sounds for the purpose of executing and

attempting to execute such scheme and artifice:


 Count           Date of Wire           Defendant(s)                    Wire Details
                 (on or about)
    2           12/16/2016        KINYAIYA                    Electronic submission of mental
                                                              health services claim for patient


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 Count       Date of Wire         Defendant(s)             Wire Details
             (on or about)
                                                  S.A. to UCare, date of service
                                                  11/20/2016
    3       1/06/2017                             Electronic      submission     of
                                                  interpretation services claim for
                                                  patient S.A. to UCare, date of
                                                  service 11/20/2016
    4       12/23/2016       KINYAIYA             Electronic submission of mental
                                                  health services claim for patient
                                                  S.A. to UCare, date of service
                                                  12/04/2016
    5       6/09/2017                             Electronic      submission     of
                                                  interpretation services claim for
                                                  patient A.E. to UCare, date of
                                                  service 12/25/2016
    6       03/03/2017       KANNEH               Electronic submission of mental
                                                  health services claim for patient
                                                  A.A. to UCare, date of service
                                                  02/03/2017
    7       3/10/2017        RUSSELL              Electronic submission of mental
                                                  health services claim for patient
                                                  O.T. to UCare, date of service
                                                  02/08/2017
    8       3/31/2017        HAGI                 Electronic      submission     of
                                                  interpretation services claim for
                                                  patient O.T. to UCare, date of
                                                  service 02/08/2017
    9       3/24/2017        RUSSELL              Electronic submission of mental
                                                  health services claim for patient
                                                  I.F. to UCare, date of service
                                                  02/16/2017
   10       4/21/2017        HAGI                 Electronic      submission     of
                                                  interpretation services claim for
                                                  patient I.F. to UCare, date of
                                                  service 02/16/2017
   11       5/19/2017        OSMAN                Electronic      submission     of
                                                  interpretation services claim for
                                                  patient M.Y. to UCare, date of
                                                  service 04/05/2017




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 Count         Date of Wire           Defendant(s)                   Wire Details
               (on or about)
   12         9/21/2018         YOUSUF                     Electronic submission of mental
                                                           health services claim for patient
                                                           T.A. to UCare, date of service
                                                           10/12/2017
   13         11/17/2017        OSMAN                      Electronic      submission     of
                                                           interpretation services claim for
                                                           patient T.A. to UCare, date of
                                                           service 10/12/2017
   14         11/3/2017         YOUSUF                     Electronic submission of mental
                                                           health services claim for patient
                                                           S.A. to UCare, date of service
                                                           10/22/2017
   15         12/01/2017        HASHI                      Electronic      submission     of
                                                           interpretation services claim for
                                                           patient S.A. to UCare, date of
                                                           service 10/22/2017
   16         9/21/2018         KANNEH                     Electronic submission of mental
                                                           health services claim for patient
                                                           A.A. to UCare, date of service
                                                           11/05/2017
   17         1/26/2018         HASHI                      Electronic      submission     of
                                                           interpretation services claim for
                                                           patient M.D. to UCare, date of
                                                           service 12/11/2017
   18         06/30/2017                                   Electronic funds transfer from
                                                           Company A to Live Better, LLC
                                                           in the amount of $139,607.94
   19         11/30/2017                                   Electronic funds transfer from
                                                           Company A to Live Better, LLC
                                                           in the amount of $177,742.32


          All in violation of Title 18, United States Code, Sections 1343 and 2.

                               FORFEITURE ALLEGATIONS

        34.      Counts 1 through 19 of this Indictment are hereby realleged and incorporated

as if fully set forth herein by reference, for the purpose of alleging forfeiture pursuant to


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Title 18, United States Code, Sections 981(a)(1)(C) and 982(a)(7), and Title 28, United

States Code, Section 2461(c).

       35.      Upon conviction of the offenses alleged in Counts 1- 19 of this Indictment,

the defendants shall forfeit to the United States pursuant to Title 18, United States Code,

Section 982(a)(7) and Title 18, United States Code, Section 981(a)(1)(C), in conjunction

with Title 28, United States Code, Section 2461(c), all property, real or personal, that

constitutes or is derived, directly or indirectly, from gross proceeds traceable to the

commission of the offenses charged in Counts 1 through 19 respectively.

          36.   If any of the above-described forfeitable property is unavailable for

forfeiture, the United States intends to seek the forfeiture of substitute property as provided

for in Title 21, United States Code, Section 853(p), as incorporated by Title 18, United

States Code, Section 982(b)(1) and Title 28, United States Code, Section 2461(c).

                                        A TRUE BILL



ACTING UNITED STATES ATTORNEY                             FOREPERSON




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